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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 AMERICAN AIRLINES, INC.,                        §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §      Civil Action No. _______________
                                                 §
 KIWI.COM, INC. and KIWI.COM,                    §
 S.R.O.,                                         §
                                                 §
         Defendants.                             §
                                                 §



                                          COMPLAINT

        Plaintiff American Airlines, Inc. (“American”), through its attorneys, brings this action

against defendants Kiwi.com, Inc. and Kiwi.com, s.r.o. (together, “Kiwi”) and respectfully alleges

as follows:

                                          INTRODUCTION

         1.      By this suit, American seeks monetary and injunctive relief against a rogue online

 travel agent, Kiwi, that holds itself out as an American agent with the authority to sell tickets on

 American flights. Kiwi does so through a broad array of deceptive ticketing practices that causes

 untold harm on American and its ability to serve its customers. From 2018–2020, Kiwi was an

 American travel agent with actual authority to distribute and sell tickets and related services to

 American’s passengers. But Kiwi repeatedly violated the agreed terms of its agency agreement

 through similar abusive ticketing practices, and American terminated Kiwi’s authority to issue

 tickets on American’s behalf. Since then, completely lacking authority but undeterred, Kiwi has

 continued, on an ongoing basis up through the present, to hold itself out as an American agent, to



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 sell tickets for American flights, attempting to Bind American to contracts of carriage even though

 Kiwi has no authority to do so.

         2.      As bad, and relatedly, Kiwi has surreptitiously gained access to American’s

 valuable and proprietary fare, schedule and inventory content, that only authorized American

 agents, and others authorized by American, are permitted to access. Without authorization, and

 by improper means, Kiwi has obtained, used, made available for searching via Kiwi’s own

 website, and otherwise misappropriated this protected, valuable and proprietary American

 content.

         3.      Kiwi deploys at least two improper paths for selling American tickets. By one

 path, Kiwi acquires tickets and sells them to passengers via American’s direct-to-consumer

 website AA.com, in repeated violation of the terms of that website; in the process, Kiwi uses

 fictitious email addresses and substitutes its own credit card information where the passenger’s

 payment information is required. By a second path, Kiwi operates by subterfuge through

 American’s actual authorized agents, including consolidators like USA Gateway, Inc. dba GTT

 International (“GTT”), issuing tickets that are designed to appear to American as if they were

 issued by those authorized agents, and thereby inducing repeated violations of those authorized

 agents’ duties to American.

         4.      While deploying these two paths, Kiwi wrongfully holds itself out to consumers

 as American’s agent, making contracts of carriage between American and passengers that only

 an authorized American agent would have authority to make. But Kiwi is not an authorized agent

 for American. At the same time, Kiwi misappropriates American’s valuable proprietary fare,

 schedule and inventory content, makes that content available to be searched on Kiwi’s website,

 and improperly displays American’s trademarks and copyright-protected Flight Symbol. But only



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 those travel agencies authorized by American to act on American’s behalf—those with “plating

 authority”—may access and use American’s valuable proprietary fare, schedule and inventory

 content, may bind American to contracts of carriage with passengers, and may use American’s

 valuable trademarks and copyright.

         5.      As described in more detail below, consolidators like GTT knowingly participate

 in Kiwi’s wrongful conduct, assisting Kiwi by providing unauthorized access to American’s

 tickets, fares and schedules to allow Kiwi to sell American tickets to passengers, and executing

 those transactions in a way that is difficult for American to trace back to Kiwi. By doing so, Kiwi

 induces GTT wrongfully to participate in Kiwi’s breaches of duties, and at the same time induces

 GTT to breach its own contractual agency duties to American.

         6.      Kiwi misrepresents to the public that it is authorized to sell American’s products

 and services, and its practices create various difficulties for American and its customers. Kiwi

 tickets flights, without authorization, for American, attempting to create agreements—contracts

 of carriage—between American and its passengers. Kiwi books these tickets via practices

 American has explicitly forbidden, meaning Kiwi is attempting to bind American to contracts it

 does not want. American bears all requirements and risks of performance under these unwanted

 contracts, while Kiwi bears no responsibility to the passenger or to American for its actions. If a

 flight or flight segment goes unused because Kiwi booked a forbidden “hidden city” ticket,

 American bears the loss from this wasted inventory. Problems that Kiwi creates are left for

 American and for the passenger to bear or to resolve.

         7.      Kiwi hides its tracks, with the assistance and participation of GTT and others,

 changes pathways, and otherwise has eluded American’s efforts to stop Kiwi’s abusive practices.

 Relief from this Court therefore is necessary. Southwest Airlines previously secured preliminary



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    and permanent injunctive relief against certain of Kiwi’s abusive practices in this Court. See

    Southwest Airlines Co. v. Kiwi.com, Inc., 3:21-cv-98, 2021 WL 4476799 (N.D. Tex. Sept. 30,

    2021) (preliminary injunction); id. at Dkt. No. 126 (permanent injunction). By this action,

    American seeks similar injunctive relief and monetary damages.

                                         NATURE OF THE CASE 1

           8.      For many decades, airlines such as American have authorized certain travel

    agencies to issue tickets—binding contracts of carriage—to passengers on the airline’s behalf.

    Like all agency relationships, these relationships are built on reputation, trust and confidence,

    give rise to agency duties, and can be modified or terminated by the principal—in this case,

    American. In this relationship, the agency has no inventory of its own, does not control any

    inventory, fare, or schedule content, and never itself “owns” any ticket. Rather, American creates

    and dynamically structures that content and inventory, takes reasonable measures to maintain data

    confidentiality and integrity, while incurring significant effort and expense to do so. American

    bears continuing responsibility for the accuracy of the content and inventory, and for the air

    transportation and related services for which passenger ticket based on such content and

    inventory. American has sole say as to its fares, including fare rules, schedules and inventory

    content, the ticket, its fulfillment or its cancellation, and the conditions or terms of carriage, and

    of course American, and not Kiwi, is the party who can perform the contract. If there is some

    problem with the ticket or the flight, the airline, not the agency, is responsible to the passenger

    and possibly regulatory authorities. The agency works as a true extension of the airline for

    purposes of forming the contract of carriage, and strictly subject to the limits of the authority

    granted by the airline to do so, unless and until its agency is terminated.


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    A reference list of acronyms used in this Complaint is attached as Appendix A.

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         9.      To regularize and simplify the process for travel agents to become authorized

 agents, certain member airlines established an international airline association and a domestic

 airline corporation: the International Airline Transport Association (“IATA”) and the Airlines

 Reporting Corporation (“ARC”), respectively. Travel agency applicants seeking to do business

 from international (ex-United States) points of sale can submit a single application to IATA,

 rather than to each member airline. Travel agency applicants seeking to do business from United

 States points of sale can submit a single application to ARC. By such applications, travel agencies

 agree to certain standard agency terms, with their agency appointment subject to consent,

 declination or termination by each airline, and subject also to supplemental terms required by

 each such airline. Taken together the governing ARC and/or IATA travel agency agreements and

 American’s addenda to those agreements are referred to in the industry as the “Governing Travel

 Agency Agreements” or “GTAA.”

         10.     In 2016, Kiwi applied for and received accreditation as a travel agency from IATA.

 IATA has a standard form contract with basic terms that govern the relationship between these

 accredited agents and IATA-member carriers who have agreed to appoint them, unless and until

 terminated. As part of the accreditation process, Kiwi agreed to be bound to all of the provisions

 of the GTAA.

         11.     The GTAA contain important instructions and limitations on the use of

 American’s proprietary and valuable fare, schedule and inventory content. Access to and display

 of that content is limited to authorized American agents, and such agents are themselves bound

 by important limitations. For example:

        8. Data Ownership and Use.
        (a) Background. The creation, development, collection, verification, formatting,
        organizing and maintenance of fares, schedule, inventory, merchandising and
        other pre-booking data about American’s products, services and facilities requires


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        extensive investment of time, money and specialized resources of American. For
        example, American expends significant amounts of time and money to (i) analyze
        markets and competition for air transportation and related products and services,
        (ii) analyze aircraft fleet types and utilization, (iii) analyze operating conditions at
        airports and air traffic control infrastructure, crew scheduling requirements and
        legal/regulatory requirements, (iv) develop, deploy and use proprietary
        algorithms, processes and techniques, many of which have taken years to develop
        and are critical to American’s competitiveness, and (v) train its personnel to
        become skilled and knowledgeable about each of the foregoing. This investment
        in pre-booking data also results in post-booking data about American’s products
        and services and the customers who purchase and consume them, and therefore
        American’s post-booking data is similarly valuable and competitively sensitive.
        The integrity, value and availability of American’s pre- and post-booking data
        can only be preserved if it is accessed and used in ways that have been authorized
        by American. Unauthorized access can cause disruption and harm to American’s
        systems, business and customers, and misuse of such data can lead to safety and
        security issues, as well as cause material commercial harm to American.

        (b) American Data. Agent understands and agrees that as between American and
        Agent and as a consequence and condition of Agent’s Appointment, any
        information or data, regardless of source or format, that (i) identifies American
        (e.g., American’s trademarks), (ii) identifies or is reasonably identifiable to
        services or products provided by American, including all fare and inventory
        information, (iii) relates to a relationship between a customer and American (e.g.,
        frequent flyer or club membership), (iv) relates to a transaction between a
        customer and American, including booking and payment data, (v) is passed by
        Agent to American through a PNR or similar booking/sale record, or (vi) is
        passed by or on behalf of American to Agent in connection with this Agreement,
        ((i) to (vi) collectively, “American Data”), is and will be owned by American and
        is Confidential Information of American. Any successors, equivalents,
        compilations or derivatives of the foregoing, whether now known or hereafter
        devised, and in any medium or format, are also American Data. Access and use of
        American Data by the Agent is solely for purposes of and is limited to those
        activities that are within the scope of the principal-agent relationship as defined
        and authorized by American for all of Agent’s Locations.

        (c) Examples of Unauthorized Activities. Any use of American Data beyond what
        is permitted in Section 8(b) above is unauthorized. As guidance, American
        provides the following examples of specific types of access, use, distribution and
        remarketing of American Data that are prohibited without prior written consent
        from American: (1) accessing AA.com by the use of any automated or electronic
        devices commonly known in the Internet industry as robots or spiders, or
        by the use of other electronic search devices; (2) soliciting, facilitating,
        encouraging or agreeing to provide access to or otherwise remarket or
        redistribute, or take affirmative steps to allow or permit such access to, or
        remarketing or redistribution of, any American Data to any third party, through


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        any process, including screen scraping, spiders, web "bots" or other device,
        software or system; (3) licensing, selling, or otherwise providing to any person or
        entity any software or other device that is capable of accessing American Data
        from any source; or (4) editing, modifying, creating derivatives, combinations or
        compilations of, combining, associating, synthesizing, reverse engineering,
        reproducing, displaying, distributing, disclosing, or otherwise processing
        American Data; (5) engaging in any kind of commercialization, marketing,
        advertising, licensing or resale that is based on American Data (e.g., advertising
        credit card offers to consumers based on the American Marks or flight
        information) except as otherwise permitted by this Agreement; (6) facilitating
        structured posting of American Data to any third party electronic media, including
        without limitation Facebook, Twitter, online calendars; (7) accessing American
        Data from any unauthorized source which American may identify to Agent;
        (8) directly or indirectly using functionality to automatically poll American’s
        inventory systems at an excessive rate; and (9) assisting, aiding, or abetting in any
        way the unauthorized access, use, distribution or display of American Data,
        including American Data obtained or derived from an American website or
        mobile app or any other web site, mobile app or any other source, such as a
        Global Distribution System. Agent may not engage in any of the above examples,
        or any other unauthorized access, use, distribution or remarketing of American
        Data, without the prior written authorization of American. Agent is not
        authorized to agree to third party terms and conditions which would assign,
        transfer, or license American Data or American’s proprietary rights in American
        Data to a third party or otherwise negatively impact American’s proprietary rights
        to American Data. If Agent learns that any third party is accessing, distributing,
        remarketing or displaying American Data in any way obtained via Agent,
        including Agent's web site, without American’s written authorization, Agent will
        promptly inform American and take all commercially reasonable measures,
        including commercial, technological, or legal measures, to prevent the
        unauthorized access, display, remarketing or distribution of American Data.
        Agent further agrees not to use, or authorize use of, American Data in any manner
        that is harmful to American.

        (d) Other Data. … Agent acknowledges and agrees that information that is
        specific to American’s flights, products and services including fares, schedules,
        inventory, AA PNR data and AA TCN data, are unique to American’s business,
        are not part of Agent’s proprietary data and remain American Data even if such
        data elements are collected in the course of Agent’s operations.

        …

(Emphases added.)

         12.     The GTAA also prohibit certain abusive ticketing practices. For example, The

 GTAA provide that “Agent acknowledges that Hidden City . . . and other Fraudulent, Fictitious,


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 or Abusive Bookings, violate American’s Rules (See American’s Conditions of Carriage for

 definitions of these types of bookings.).” Under American’s Conditions of Carriage, prohibited

 booking practices include: “Purchasing a ticket without intending to fly all flights to gain lower

 fares (hidden city ticketing) … Combining 2 or more roundtrip excursion fares end-to-end to

 circumvent minimum stay requirements (back-to-back ticketing).” Relatedly, Rule 65(A)(3)(a)

 of American’s General Rules of the International Tariff, also linked on AA.com, provides that

 “Tickets may not be purchased at a fare(s) published from an initial departure point on the ticket

 which is before the passenger’s actual point of origin of travel, or to a more distant point(s) than

 the passenger’s actual destination being traveled even when the purchase and use of such tickets

 would produce a lower fare. This practice is known as ‘hidden cities ticketing’ . . . and is

 prohibited by AA.”

         13.     In 2017, American became aware of unauthorized and abusive sales activities by

 Kiwi and demanded that Kiwi cease and desist these activities. In or about April 2018, in an

 effort to resolve their differences and to formalize certain sales commission amounts, Kiwi and

 American entered into a direct Agency Program Agreement. In Section 7.7 of that 2018 Agency

 Program Agreement, Kiwi explicitly reaffirmed that it would comply with applicable terms of the

 GTAA.

         14.     As an accredited and approved agent for American, Kiwi had access to American’s

 valuable real-time flight and ticket-pricing content. Kiwi also had the right to sell American

 tickets and related flight services as American’s agent in accordance with American’s instructions

 and policies.

         15.     Despite agreeing to comply with American’s instructions and policies, Kiwi

 recommenced its practices of flouting numerous rules and requirements of the GTAA. Kiwi’s



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 abusive actions were in breach of the GTAA, significantly harmed American’s customers—

 through consumer confusion, disruptions in services, and operational delays and problems—and

 damaged American’s relationships and reputation with its customers. American discussed these

 problems with Kiwi in 2019 to give Kiwi a chance to mend its ways, to no avail.

         16.     American therefore notified Kiwi in 2020 that it was terminating Kiwi’s

 authorization to sell American flights and fares, as American was entitled to do under the GTAA.

 In February 2022, American and its partners British Airways, Finnair and Iberia publicly

 announced to the airline industry, including GTT, that they had revoked Kiwi’s agency

 appointment, and directed all authorized agents, including GTT, to cease issuing tickets on behalf

 of Kiwi.

         17.     But Kiwi has been undeterred. Despite lacking any authority to access and use

 American’s valuable, dynamic flight, fare and inventory content, Kiwi found improper means to

 do so, feeding that content to Kiwi’s website. Likewise without authority to sell American’s

 flights and fares as American’s agent, Kiwi continued to do so: displaying American’s flights,

 trademarks and copyrighted symbol on its website as if Kiwi were still authorized as American’s

 agent, and selling American flights by various subterfuges, thereby continuing to harm American

 and American’s customers.

         18.     By one pathway, as mentioned above, Kiwi sells American’s flights by purchasing

 tickets in the name of the customer through American’s direct-to-consumer website, AA.com.

 The AA.com website has contractual terms of use, included in legal information linked on the

 home page, the terms of which are accepted and agreed to by using the website (“Use

 Agreement”). Kiwi clearly is familiar with such terms of use, as Kiwi’s own website, Kiwi.com,




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 has its own terms of use. And, in fact, to book tickets through the AA.com website, Kiwi

 affirmatively had to check a box confirming its acceptance of American’s conditions of carriage.

         19.     Critically, AA.com’s Use Agreement explicitly states that AA.com is solely for

 personal, non-commercial use. The Use Agreement also prohibits, among other things: making

 an abusive reservation in violation of American’s conditions of carriage. Abusive practices

 include making a reservation where the passenger does not intend to fly all flight segments (a

 practice known as hidden city ticketing), booking through the website for any person who is not

 a member of the user’s immediate household or the user’s direct work supervisor, and

 misrepresenting or omitting the origin or source of any information uploaded to the site. But

 Kiwi violates all of these terms, and more. Kiwi uses the site for commercial, not personal, use;

 it actively encourages and books hidden city tickets; it books for others outside the exceptions for

 family members and work supervisors; and while Kiwi books tickets using the passenger’s name,

 it does not supply the passenger’s credit card information and contact email address, using instead

 Kiwi’s own hard-to-trace payment information and auto-generated fictitious email addresses.

         20.     These violations harm not only American but also consumers. When a passenger

 is late arriving for the final segment of a flight, American might delay the flight unnecessarily

 while looking for the passenger. If the passenger still doesn’t show, American needs to determine

 whether the passenger has checked luggage through to the final destination, because if the

 passenger has, the luggage needs to be removed from the plane as a serious security matter,

 potentially causing a flight delay. When the passenger does not show up for the second leg of her

 flight, the rest of her itinerary is automatically cancelled; she therefore runs into trouble when she

 tries to board her return flight home and does not have a valid ticket. In addition, without

 passenger contact information, American is unable to communicate with passengers concerning



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 canceled or delayed flights, gate changes, and the like.            Without passenger credit card

 information, American is unable to refund the passenger directly, and the customer instead needs

 to chase down her refund from Kiwi, because American likely refunded by way of credit to the

 source of payment that Kiwi supplied.

         21.     Kiwi also misleads American’s passengers, leading to significant potential

 problems for those passengers and for American. For example, Kiwi often collects its own

 luggage charges for checked bags, without notifying or making any arrangement with American.

 It has done so even in situations where American does not charge for checked bags and the

 passenger could have transported her luggage with no charge at all. In any event, without an

 arrangement by which such fees could be notified or posted to American, American has no way

 to know about or recognize the charges imposed by Kiwi. A customer therefore who paid Kiwi

 for its luggage, in situations where American would charge such a fee, ends up thinking that she

 has paid for her bags, but arrives at the airport and learns that she has not.

         22.     By a second pathway, when Kiwi does not book through AA.com, Kiwi operates

 underground by selling American tickets using the ticketing authority of certain authorized

 consolidator agencies that Kiwi apparently has formed relationships with. Unauthorized sales by

 Kiwi made using the ticketing authority of consolidator agencies like GTT appear to American

 to be sales made by the consolidator agency, not Kiwi, but ultimately are funneled to Kiwi and

 passed on to Kiwi’s customers.

         23.     These shadow sales by Kiwi induce breaches of GTAA provisions by which

 authorized consolidators have agreed not to issue tickets for any unauthorized agency. Thus, by

 executing sales for Kiwi, consolidator agencies not only are participating in Kiwi’s breaches of

 agency duties to American, they also are breaching their own agreements with American included



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 in the GTAA. As with Kiwi’s purchases made on AA.com, Kiwi’s unauthorized sales made

 through such consolidators often include hidden city tickets and have caused similar problems for

 passengers and American.

         24.          Although Kiwi’s means and operations are often secretive and hidden, involving

 subterfuge and misrepresentation, Kiwi’s goals are open, notorious, and brazen. Disruption and

 violation       of     airline   industry   agreements    are    its     business   model.     See

 www.kiwi.com/stories/category/travel-hacks/ (accessed on July 14, 2023):

        Travel hacks

        We hack the system, you fly for less: that’s Kiwi.com’s motto. Here’s where we
        round up our travel hacks. Everything from cheap flight tickets, flight booking
        hacks, the best ways to save money, and even a few secret hacks and tricks the
        airlines don’t want you to know!

        We’re proud of our travel hacks here at Kiwi.com. Our powerful travel search with
        flexible filters can show you destinations you’d never even thought of, while hacks
        like Hidden Cities, throwaway ticketing, Price Alerts, flexible fares, self-transfer,
        and our unique Nomad multi-city search give you more options to book your perfect
        trip. Avoid hidden fees, save money, and book cheap flights using Kiwi.com.

         25.          Kiwi boldly boasts about its wrongful misappropriation of proprietary fare,

 schedule and inventory content from airlines including American, using its “Kiwi-code” software.

 See www.kiwi.com/us/cheap-flights/travel-hacks (accessed on July 14, 2023):

        Technology that makes travel cheaper and simpler for everyone

        It all starts with Kiwi-Code — our one-of-a-kind computer code — that we
        developed to hack the travel system so that you and everyone else can travel more
        often, for less.

        Kiwi-Code sees 95% of all the flights from around the world and performs over 50
        billion flight price checks every day to give you the most up-to-date search results,
        always. What does that mean for you? It’s simple: you get more travel search
        results than you would anywhere else. You see the deals and travel options that
        airlines don’t want you to see and other search engines can’t even find. This is
        how, when you book with Kiwi.com, you’re getting some of the best travel deals
        on the internet.



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         26.     By its actions, Kiwi has breached agency duties including by holding itself out and

 acting as American’s agent without authorization, breached the AA.com Use Agreement,

 breached the GTAA, tortiously interfered with and induced breaches of American’s agreements

 with authorized agencies, infringed and diluted American’s trademarks, misappropriated and

 misused American’s valuable proprietary content, unjustly enriched itself by selling American’s

 flights, and otherwise is liable pursuant to the additional causes of action pleaded herein. By its

 actions executing sales for Kiwi, authorized agencies and consolidators are participating and

 assisting in Kiwi’s breaches of agency duties to American, and also breaching their own

 agreements with American included in the GTAA.

         27.     American has tried to thwart, terminate and mitigate Kiwi’s unauthorized abusive

 practices. But each time one avenue is cut off, Kiwi looks for and finds another. Only an

 injunction from this Court, which can be enforced with the threat of serious sanctions, can fully

 end Kiwi’s misconduct. In addition to a permanent injunction, American also seeks statutory

 damages, and disgorgement of Kiwi’s profits.

                                              PARTIES

         28.     American is a Delaware corporation with its worldwide headquarters in this

 District at 1 Skyview Drive, Fort Worth, Texas 76155.

         29.     Over its 90-year history, American has developed hard-earned global name

 recognition and goodwill, and has become a leading household brand. A key driver of its success

 has been its investment in its products, customer service, brand, and intellectual property. For

 decades, it has used and continues to use the trade name “American Airlines,” and iconic

 trademarks and service marks. Its brands, trade names, and other intellectual property are the

 result of significant investment and worth billions of dollars.



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         30.     American has introduced many innovations in travel over the years, including the

 first computer system for automating reservations and the first global alliance of air carriers. In

 its role as a long-time innovator in the industry, American launched its website, AA.com, in 1995.

 AA.com offers end-user customers flights, ticket data, reservation details, booking options, and

 other travel services. American has long controlled access to AA.com and, in doing so, prohibits

 travel agencies or other businesses from the unauthorized sale of American flights through that

 portal. Among other things, the terms of use for AA.com prohibit the use of AA.com for any

 commercial purpose without American’s express authorization.

         31.     Defendant Kiwi.com, Inc. is a Delaware corporation organized under Delaware

 law. Its principal place of business is located at 1221 Brickell Avenue, Suite 1115, Miami, Florida

 33131. Despite doing business in the state of Texas, Kiwi.com, Inc. has not designated a

 registered agent for service of process in Texas. Kiwi.com, Inc. may be served with process

 through either (a) its Delaware registered agent, Northwest Registered Agent Service, Inc., 8 The

 Green, Suite B, Dover, Delaware 19901; or (b) its Florida registered agent, Northwest Registered

 Agent Service, Inc, 7901 4th St. N, Suite 300, St. Petersburg, Florida 33702. Alternatively,

 Summons and Complaint may be served upon the Texas Secretary of State at 1019 Brazos Street,

 Austin, Texas 78701, as its agent for service pursuant to Tex. Civ. Prac. & Rem. Code § 17.044.

 The Texas Secretary of State may serve Kiwi.com, Inc. at 1221 Brickell Avenue, Suite 1115,

 Miami, Florida 33131, or via the registered agent for service of process it has designated for

 Delaware and/or Florida.

         32.     Defendant Kiwi.com, s.r.o. is a Czechoslovakian limited liability company based

 in the Czech Republic, identifying its address as Palachovo náměstí 797/4, Brno 625 00.

 Kiwi.com, s.r.o. can be served at that address via the Hague Convention pursuant to Fed. R. Civ.



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 P. 4(f)(1). The Czech Republic has designated the Ministry of Justice of the Czech Republic,

 Vyšehradská 16, 128 10 Praha 2, Czech Republic as the Central Authority for service of process

 via the Hague Convention.

           33.   Kiwi.com, Inc. and Kiwi.com, s.r.o. appear to act interchangeably, and as each

 other’s agent. Together, Kiwi.com, Inc. and Kiwi.com, s.r.o. constitute an online travel agency

 that operates the website Kiwi.com to sell tickets for flights operated by American and other

 carriers. Kiwi claims that it “uncovers cheap travel options that others simply can’t find” and uses

 “secret hacks and tricks the airlines don’t want you to know.” Kiwi has an “F” rating from the

 Better Business Bureau—with a 1.03 out of 5 star ranking by 136 customers. The internet is

 replete with customer complaints about Kiwi’s business practices and poor customer service.

                                    JURISDICTION AND VENUE

         34.     The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1121(a), and

 28 U.S.C. §§ 1331 and 1338, given American’s trademark and copyright claims. The Court has

 supplemental and pendent jurisdiction over the related state law claims pursuant to 28 U.S.C.

 § 1367.

         35.     This Court has personal jurisdiction over Kiwi.com, Inc. and Kiwi.com, s.r.o. By

 accessing and booking tickets over AA.com, Kiwi.com agreed to AA.com’s Use Agreement,

 which includes an acknowledgement that the terms of the site constitute an agreement “made and

 entered into in Tarrant County, Texas,” and which provide that Texas law governs any dispute

 arising from use of the site. Moreover, as described in more detail above and below, Kiwi by its

 acts and agreements assumed and thereby became bound to, and is estopped from avoiding, all of

 the provisions and instructions in the GTAA, which provided in relevant part at the time of the

 alleged underlying events:



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        The laws of the State of Texas and the United States of America will govern the
        entire relationship between American and Agent including all disputes that may
        arise between American and Agent regarding the formation, interpretation or
        enforcement of these instructions or the Agreement. Agent hereby submits and
        consents to the exclusive jurisdiction of the United States District Court for the
        Northern District of Texas and the courts of the State of Texas for all these disputes
        and waives any claim of lack of jurisdiction or forum non conveniens.

(Emphasis added.)

         36.     The Court has personal jurisdiction over Kiwi for the additional reasons that Kiwi

 has committed torts in this State, breached contracts and duties entered into and governed by the

 laws of this State, harmed American in this State, and violated Texas statutory law. It has done

 and still does business systematically in this State. Kiwi sought and was granted an agency

 relationship, with its principal, American, located in Texas. Even after American terminated

 Kiwi’s agency authority, Kiwi continues to act with apparent, although not actual, authority,

 injuring its Texas-based principal.

         37.     Kiwi books tickets for, among others, Texas-based customers; for one recent year

 alone, American has been able to identify over 70 tickets with Kiwi’s fingerprints having

 itineraries that start and end in Texas, which therefore inferentially are for Texas residents. In

 addition, one of the major consolidator agencies whose PCCs Kiwi improperly uses to sell

 American tickets, GTT, maintains its headquarters in Plano, Texas.

         38.     Kiwi thereby purposefully availed itself of this forum by soliciting business from

 Texas residents and directing its actions towards Texas and this District. This includes offering

 and selling flights to Texas residents, and engaging Texas-based third parties to book travel for

 certain passengers. Kiwi’s website moreover offers and sells American flights to at least 19 Texas

 cities. By these actions, Kiwi could reasonably anticipate being hauled into court here to answer

 for its actions. The injuries Kiwi inflicts on American are felt in Texas and in this District, and

 Kiwi knew that serious harmful effects from its conduct would occur here.

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         39.      Both Kiwi entities have contacts with Texas. When a Texas user visits Kiwi.com,

 Kiwi sends targeted promotional emails with a curated list of fare deals asking, “There are loads

 of deals from Dallas right now, and we’ve organized them by price for you. But, these offers are

 for a limited time only, so click now to discover where you can go – no matter your budget!” This

 email is sent by Kiwi.com s.r.o. As alleged above, Kiwi.com, Inc. and Kiwi.com s.r.o. appear to

 act interchangeably, and as each other’s agent. This arrangement is memorialized by the terms

 and conditions on Kiwi’s website (www.kiwi.com/en/pages/content/legal):

        1.3 Your relationship with Kiwi.com

        1.3.1 Whenever we mention “Kiwi.com,” “we,” “us,” and “our,” we mean either:

        (a) Kiwi.com s.r.o., with a registered office at Lazaretní 925/9, Zábrdovice, Post
        Code 615 00 Brno, the Czech Republic, Company ID No.: 29352886, registered in
        the Commercial Register maintained by the Regional Court in Brno, File No. C
        74565, Tax ID No. CZ29352886, or

        (b) Kiwi.com Inc. with a registered office at 1221 Brickell Avenue, Suite 1115,
        Miami, Florida, 33131, United States, if you fulfill the following criteria: (i) your
        payment is made by a credit/debit card from Visa or Mastercard and is issued by
        US bank/registered issuer, and (ii) you make the payment for the respective
        Kiwi.com Service in USD currency.

Thus, according to Kiwi, whenever a Texas resident purchases a ticket on Kiwi.com and pays

using a Visa or Mastercard credit card, the Texas resident is transacting with Kiwi.com, Inc. And

according to Kiwi, whenever a Texas resident purchases a ticket on Kiwi.com and pays using any

other (e.g., American Express or Discover) credit card, the Texas resident is transacting with

Kiwi.com s.r.o.

         40.      Venue is proper in this District under 28 U.S.C § 1391. All defendants are deemed

 to be residents of this State because the Court has personal jurisdiction over the claims against

 them. See id. § 1391(c)(2). The claims in this action also arose in this District, and a substantial

 part of the activities, conduct, and damages have occurred in Texas. Kiwi.com s.r.o. is a foreign


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 entity, not a resident of the United States, that may be sued in any district. Defendants also agreed

 to venue in the AA.com Use Agreement and the GTAA.

         41.     In the Southwest case, this Court exercised personal jurisdiction over both

 Kiwi.com, Inc. and Kiwi.com, s.r.o., over Kiwi.com, s.r.o.’s objection.

                                     FACTUAL ALLEGATIONS

          A.     American’s Operations and Content

         42.     Fort Worth-based American is one of the world’s premier airlines. Driving its

 success have been long-term investments in its fleet, information technology systems, personnel,

 industry partnerships, and customer service. Over its more than 90-year history, American has

 grown to be the largest commercial airline in the world, with the greatest number of passengers

 carried, the most revenue passenger miles flown, and the largest fleet of planes. American has

 carefully built and protected its global name recognition and goodwill, establishing itself as an

 industry innovator with reliable, quality customer service and valued customer relationships.

         43.     In the 1950s and 1960s, American, with assistance from IBM, developed the first

 computerized reservation and ticketing system, which became known as SABRE (Semi-

 automated Business Research Environment). Sabre was spun off from American in 2000.

         44.     Consistent with its role as a long-time innovator in the industry, American was one

 of the first companies to launch a loyalty program, rewarding frequent travelers with special

 privileges, such as free upgrades, discounted tickets, and frequent-flyer miles. American launched

 its loyalty program, named AAdvantage®, forty years ago. It quickly became a model for loyalty

 programs in the industry and has been for decades. American has developed its distinctive

 AAdvantage® brand and program through significant work and investment. American’s

 customer-focused innovations have helped it earn five-star awards by the Airline Passenger

 Experience Association, among other recognitions.

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         45.     American developed its consumer-facing website, AA.com, in 1995 to improve

 and expand its services. With an easy-to-use interface, AA.com serves as the primary hub for end-

 user customers to shop for and book travel on American flights, and to perform many other flight-

 related and travel-related activities. The site provides time-sensitive flight and fare data to actual

 and potential end-user customers in an interactive format.

         46.     American has invested significant resources to develop, maintain, and distribute

 to authorized users its flight, fare and inventory content. The content changes continually, of

 necessity and in reaction to changing business conditions; it is generated dynamically. The

 products offered to a particular customer at each moment in time depend on many variables,

 including available inventory, departure dates and times, demand, and competition. This valuable

 content is carefully protected and all reasonable measures are taken to keep the information secret.

 American selectively provides this information to authorized agents only, and to certain other

 authorized recipients, under strict terms and conditions, including prohibitions against sharing

 that content with unauthorized agents.

         47.     The creation, development, collection, verification, formatting, organizing and

 maintenance of fares, schedule, inventory, merchandising and other content relating to

 American’s products, services and facilities has required extensive investment of time, money

 and specialized resources of American. For example, American expends significant amounts of

 time and money to (i) analyze markets and competition for air transportation and related products

 and services, (ii) analyze aircraft fleet types and utilization, (iii) analyze operating conditions at

 airports and air traffic control infrastructure, crew scheduling requirements and legal/regulatory

 requirements, (iv) develop, deploy and use proprietary algorithms, processes and techniques,




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 many of which have taken years to develop and are critical to American’s competitiveness, and

 (v) train its personnel to become skilled and knowledgeable about each of the foregoing.

         48.     These efforts, and the value of American’s content, are described in the GTAA, as

 quoted in detail above. They undergird the limitations for use of such content by authorized

 American agents only, and even such authorized agents are limited in the purposes and manner

 of permitted use.

         49.     As further described in the GTAA, unauthorized access can cause disruption and

 harm to American’s systems, business and customers, and misuse of such content can lead to

 safety and security issues, as well as cause material commercial harm to American.

          B.     Contractual Terms and Conditions Relating to AA.com

         50.     To protect its valuable flight/fare content, American requires visitors to AA.com

 to agree to terms governing use of the site. American thereby makes its site and data available for

 end-user consumer access and use subject to the AA.com Use Agreement. The Use Agreement

 confirms that the information displayed is owned by American. An interactive link appearing on

 the homepage and most pages of AA.com references “Legal, privacy, copyright” information,

 and thereby links to the Use Agreement governing use of AA.com.

         51.     The Use Agreement provides terms and conditions under which users may access

 and use AA.com: “In return for gaining access to the Site and using it, you agree to be bound by

 the following Agreement without limitation or qualification, so please carefully review this

 Agreement before proceeding. If you do not intend to be legally bound by these terms and

 conditions, do not access and use the Site.” (Emphasis added.) Because access or use of AA.com

 constitutes acceptance, the Use Agreement is a valid and enforceable contract between American

 and those who access and use the website. The Use Agreement provides that it is “made and

 entered into in Tarrant County, Texas,” and users agree “that Texas law governs this Agreement’s

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 interpretation and/or any dispute arising from your access to, dealings with, or use of the Site.”

 When Kiwi accesses and uses AA.com to book flights, Kiwi becomes bound by the terms of the

 Use Agreement.

         52.      Consistent with American’s overall rigorous protection of its valuable proprietary

 data, the Use Agreement provides that American owns the data displayed on AA.com, and users

 may not use any such information for their own commercial gain. As provided in the Use

 Agreement,

        a.       All “information,” including “data,” “screens,” and “Web pages . . .
                 appearing on the Site are the exclusive property of American.”

        b.       Users “may not copy, display, distribute, download, . . . publish, . . .reuse,
                 sell, transmit, . . . or otherwise use the content of the site for public or
                 commercial purposes.”

        c.       American “provides the Site solely to permit you to determine the
                 availability of goods and services offered on the Site and to make legitimate
                 reservations . . . , and for no other purposes. The Site is for your personal,
                 non-commercial use.”

        d.       AA.com users agree not to “misuse the Site.” This includes, among other
                 things, (a) using the site to “[c]opy or create derivative works from, display,
                 distribute, license, perform, publish, recreate, reproduce, sell, transfer, or
                 transmit any information, products, services, or software obtained by, from,
                 or through the Site,” (b) to “[m]onitor or copy any Content by using any
                 manual process, or any robot, spider, or other automatic device,” (c) to
                 “[m]isrepresent or omit the origin or source of any file you download or
                 upload,” or (d) to “[a]ct as an agent or attorney in fact for any person who
                 is not a member of your immediate household; or your direct supervisor at
                 your place of employment.”

         53.     The Use Agreement incorporates American’s conditions of carriage which are also

 linked on AA.com. These conditions include the following provision regarding ticket validity:

 “Your ticket is valid only when: Travel is to/from the cities on your ticket and in your trip record.”

 The conditions of carriage also specify various prohibited booking practices. For example,

 “[r]eservations made to exploit or circumvent fare and ticket rules are prohibited. Examples


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 include (but are not limited to): Purchasing a ticket without intending to fly all flights to gain

 lower fares (hidden city ticketing).”

          C.     Additional Contractual Agreements Binding Kiwi

         54.     Outside of the limited data available on American’s AA.com direct-to-consumer

 portal, American permits access to its flight, fare and inventory content, and permits sales of its

 ticketed flights and ancillary services, only by those travel agencies which are authorized, subject

 to agreed contractual terms and conditions.

         55.     IATA accredits travel agencies with points of sale abroad, and ARC similarly

 accredits travel agencies with points of sale in the United States, to sell airline tickets on behalf

 of carriers who have authorized those agents. Kiwi directly applied for and obtained accreditation

 from IATA in 2016. Kiwi thereby agreed to be bound to all of the provisions of the standard-form

 Passenger Sales Agency Agreement that IATA facilitates between IATA-accredited agents and

 IATA member airlines, including American. The Passenger Sales Agency Agreement that arises

 is explicitly a contract with and for the benefit of IATA member airlines including American.

         56.     In parallel, Kiwi has operated and issued shadow bookings through certain ARC-

 and IATA-accredited agencies. One such consolidator agency through which Kiwi has issued

 tickets is GTT. By virtue of its shadow activities through ARC-accredited agencies such as GTT,

 Kiwi assumed and thereby became subject to and bound by, and is estopped from avoiding, all of

 the limitations and obligations in the ARC Agent Reporting Agreement that ARC facilitates

 between carriers and agents. The ARC Agent Reporting Agreement is explicitly a contract with

 and for the benefit of member airlines including American.

         57.     Among other provisions, the IATA Passenger Sales Agency Agreement and the

 ARC Agent Reporting Agreement give rise to and confirm the existence of a principal-agency

 relationship between the agency and the carrier.

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         58.     In addition, as part of the agreed provisions in the IATA Passenger Sales Agency

 Agreement and the ARC Agent Reporting Agreement, Kiwi agreed to comply with all further

 supplemental instructions and policies in the GTAA Addenda. In relevant part, the IATA

 Passenger Sales Agency Agreement provides that “all services sold pursuant to this Agreement

 shall be sold on behalf of the Carrier and in compliance with Carrier’s tariffs, conditions of

 carriage and the written instructions of the carrier as provided to the Agent ….” The ARC Agent

 Reporting Agreement provides that “Agent must comply with all Carrier instructions, and must

 not make any representation a Carrier has not previously authorized.”

         59.     As is quoted at length above, the GTAA includes extensive limitations on access

 and use of American’s dynamic, proprietary flight, fare and inventory content: which can be

 accessed and used only by authorized American agents, and by those authorized agents only for

 limited purposes and in particular manners.

         60.     Further, the GTAA provides that “Agent [such as a consolidator like GTT] will

 not issue tickets for transportation on American on behalf of any other travel agency location for

 which American has refused or terminated its appointment [such as Kiwi].”

         61.     Kiwi confirmed in the 2018 Agency Program Agreement that it would comply

 with the terms of the GTAA, as applicable.

         62.     The Use Agreement, Conditions of Carriage, GTAA, and/or the 2018 Agency

 Program Agreement expressly prohibited Kiwi’s abusive conduct, including holding itself out as

 American’s agent without authority to do so, booking hidden city tickets, booking tickets using

 Kiwi’s own payment information rather than the passenger’s, booking tickets using fake customer

 contact information, and using American’s content and intellectual property without consent.




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          D.       Distribution and Related           Contractual   Agreements     Between
                   American and Its Agents

         63.      The GTAA prohibit accredited agents from acting as intermediaries for those, like

 Kiwi, whose ticketing authority American has revoked. The GTAA further prohibit authorized

 agents from “assisting, aiding, or abetting in any way the unauthorized access, use, distribution

 or display of American Data” and provides that “[i]f Agent learns that any third party [such as

 Kiwi] is accessing, distributing, remarketing or displaying American Data in any way obtained

 via Agent … without American’s written authorization, Agent will promptly inform American

 and take all commercially reasonable measures, including commercial, technological, or legal

 measures, to prevent the unauthorized access, display, remarketing or distribution of American

 Data.” The GTAA also provide that “Agent will not issue tickets for transportation on American

 on behalf of any other travel agency location for which American has refused or terminated its

 appointment [such as Kiwi].”

                 1.     Suspension, Limitation or Termination of Agency Authority

         64.      Under all relevant agreements including the GTAA, American retained the right

 to suspend Kiwi’s ticketing authority or to terminate the agency relationship altogether, within its

 sole discretion for any or no reason. For example, under the GTAA, American may at any time,

 on written notice to a travel agency, suspend or limit a travel agency’s appointment to act in an

 agency capacity for American. American was allowed to terminate Kiwi’s rights under the 2018

 Agency Program Agreement for convenience upon 30-days’ notice, and immediately for cause.

         65.      Upon suspension or termination of that authority, Kiwi lacked actual authority to

 access and use American’s propriety flight, fare and inventory content. Kiwi also lacked actual

 authority to sell or issue tickets on behalf of American. Under the GTAA, if its appointment is

 terminated, “Agent may not act in any agency capacity whatsoever for the sale of American’s


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 products and services from any location.” That obligation to refrain from acting as an agent

 continues to bind the agent after termination. The GTAA also make clear that when a carrier

 terminates an agency relationship, “all obligations accrued prior to the date of termination”

 survive.

         66.      In February 2022, American publicly announced to all of its authorized agents

 that American had revoked Kiwi’s agency appointment, and directed that all authorized agents,

 cease issuance of tickets on behalf of Kiwi. GTT therefore has been on notice of Kiwi’s

 termination since at least February 2022, if not before.

                 2.      Hidden City Ticketing

         67.      Among other relevant GTAA terms and conditions, agencies agree to refrain from

 “abusive practices,” including hidden city itineraries.

         68.      The GTAA prohibit “[m]isuse or manipulation” of travel documents, including

 issuance “of tickets that are not intended for travel by a bona fide passenger.” Further, the GTAA

 prohibit “issuing/selling a ticket with a fictitious point of origin or destination in order to undercut

 the applicable fare.”

         69.      The GTAA provide that “Agent acknowledges that Hidden City . . . and other

 Fraudulent, Fictitious, or Abusive Bookings, violate American’s Rules (See American’s

 Conditions of Carriage for definitions of these types of bookings.).” Under American’s conditions

 of carriage, prohibited booking practices include: “Purchasing a ticket without intending to fly all

 flights to gain lower fares (hidden city ticketing) … Combining 2 or more roundtrip excursion

 fares end-to-end to circumvent minimum stay requirements (back-to-back ticketing).” Relatedly,

 Rule 65(A)(3)(a) of American’s General Rules of the International Tariff, also linked on AA.com,

 provides that “Tickets may not be purchased at a fare(s) published from an initial departure point

 on the ticket which is before the passenger’s actual point of origin of travel, or to a more distant

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 point(s) than the passenger’s actual destination being traveled even when the purchase and use of

 such tickets would produce a lower fare. This practice is known as ‘hidden cities

 ticketing’ . . . and is prohibited by AA.”

                 3.     Failure to Provide Complete Passenger Data

         70.      Relevant agreements require agents to provide complete passenger contact and

 payment information, and prohibit agents from substituting their own information in place of

 passengers’ information.

         71.      For example, the GTAA explain that “[c]omplete information in a reservation is

 important to appropriately service customers during the course of travel and required for

 governmental compliance programs such as Secure Flight, therefore Agent must provide

 American with all the contact information offered by customers including but not limited to phone

 fields and emails as well as any other information required by governmental authorities. Agent

 may not substitute any contact information or provide Agent’s contact information in lieu of such

 customer information without the consent of American and the customer.”

         72.      For its part, the ARC Agent Reporting Agreement states that “[i]n the absence of

 specific permission of a Carrier . . . Agent must process Transactions . . . with the same form of

 payment provided by the client. . . . Agent must not use a credit card which is issued in the name

 of the Agent, or in the name of any of the Agent’s personnel, or in the name of any third party

 (other than the client). . . .” The ARC Industry Agent’s Handbook, which is incorporated by

 reference into the ARC Agent Reporting Agreement, further requires agents to “follow the

 validating airline’s rules, policies, and procedures” related to reservations and ticketing, including

 by providing passengers’ telephone contact numbers. Similarly, the IATA Passenger Sales

 Agency Agreement requires agents to provide passenger contact information to the carriers or “to

 indicate that the passenger has declined to provide such details.”

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                 4.     Misuse of Carrier Data

         73.      As described in the GTAA, American owns any and all content that, among other

 things, “identifies or is reasonably identifiable to services or products provided by American,

 including all fare and inventory information.” “Access and use of American Data by the Agent is

 solely for purposes of and is limited to those activities that are within the scope of the principal-

 agent relationship as defined and authorized by American.”

         74.      The GTAA prohibit a variety of misuses of its content, including “accessing

 AA.com by the use of any automated or electronic devices commonly known in the Internet

 industry as robots or spiders, or by the use of other electronic search devices,” “displaying,

 distributing, disclosing, or otherwise processing American Data,” “engaging in any kind of

 commercialization, marketing, advertising, licensing or resale that is based on American Data,”

 “facilitating structured posting of American Data to any third party electronic media,” and

 “assisting, aiding, or abetting in any way the unauthorized access, use, distribution or display of

 American Data, including American Data obtained or derived from an American website or

 mobile app or any other web site, mobile app or any other source, such as a Global Distribution

 System.”

         75.      The GTAA also explicitly prohibit “display[ing] American’s products and services

 via electronic means directly to customers without American’s prior written approval.”

                 5.     Misuse of Intellectual Property

         76.      In addition to the intellectual property protections afforded by federal and state

 law, the GTAA prevent misuse of American’s intellectual property.

         77.      The ARC Agent Reporting Agreement provides that “[a]ny website or mobile

 application owned, operated, or used by an Agent . . . must not include any images containing



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 Carrier’s logo or branded aircraft imaging or other marks, without Carrier’s prior written

 consent.”

         78.      Under the GTAA, American granted agents a limited permission to use certain

 American marks and trade dress “solely for the purpose of identifying Agent as an authorized

 agent of American.” Agents, in turn, agreed to “obtain American's written authorization . . . before

 any use of American’s intellectual property.” Agents further agreed not to harm, challenge

 ownership of, or in any way contest or deny the validity of, or the right or title of American in or

 to the American Marks or American Copyright. They also agreed that a breach of the GTAA’s

 intellectual property provisions “will cause American significant, irreparable injury and that

 American's legal remedies for a breach will be inadequate.”

                 6.     Acting For or Assisting Unauthorized Agents

         79.      As mentioned above, the GTAA prohibit accredited and approved agents,

 including for example GTT, from acting for or assisting terminated, such as Kiwi.

         80.      For example, when a carrier terminates its appointment of an ARC-accredited

 agent, ARC notifies Global Distribution Systems (“GDSs”) of the termination “to inhibit issuance

 of ARC Travel Documents on that Carrier.” The ARC Agent Reporting Agreement also makes

 clear that “[p]ermitting the unlawful or unauthorized access or use of an airline or [GDS]

 computer-reservations system” constitutes a breach of the ARC Agent Reporting Agreement.

         81.      For its part, the GTAA state that “Agent’s Appointment is for purposes of the

 Agent marketing and selling American’s products and services directly to customers for those

 products and services. Agent’s Appointment is specific to Agent, and does not include any

 authority for Agent to act as an intermediary for further distribution of American’s products and

 services via other intermediaries and sales agents.” They further provided that “Agent will not



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 issue tickets for transportation on American on behalf of any other travel agency location for

 which American has refused or terminated its appointment.”

          E.     American’s Valuable Trademarks and Copyrights

         82.     American has developed global name recognition and goodwill. Its brands, trade

 names, and other intellectual property are the result of significant investment and worth billions

 of dollars. For decades, American has used and continues to use the trade name “American

 Airlines” and many trademarks, service marks, and copyrights, including on AA.com. American

 also has used designs such as its “Flight Symbol” to promote its products and services throughout

 the world:




         83.     American uses the “American Airlines” mark and               (“Flight Symbol”) design

 (together, “American Marks”), alone and in combination with other words and designs, in

 connection with loyalty programs, discount programs, incentive award programs, transportation

 services, and travel-related goods and services, in interstate commerce.

         84.     To protect its investment in its intellectual property, American registers the

 American Marks in the U.S. Patent and Trademark Office (“USPTO”) on the Principal Register.

 American also registers the American Marks in many other countries.

         85.     The registered American Marks include the following:

    Mark/Name         Reg. No.       Reg. Date                              Services

  AMERICAN            4939082     April 19, 2016      (Int’l Class: 35)
  AIRLINES                                            Sales promotion; promoting the goods and services of
                                                      others by means of a loyalty program, discount program,

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                                          and an incentive awards program whereby purchase
                                          points are earned or awarded for purchases made from
                                          vendor subscribers or travel conducted by member
                                          subscribers which can then be redeemed for
                                          merchandise and travel; online retail store services
                                          featuring gift cards and private club membership;
                                          promoting the goods and services of others by means of
                                          providing an on-line shopping mall with links to the
                                          retail web sites ofothers in the field of books, computers,
                                          software, office supplies, consumer electronics, music,
                                          sporting and recreational equipment, gifts, travel items,
                                          apparel, jewelry, health and beauty, toys, travel, home
                                          and garden-related items, and general retail
                                          merchandise.

                                          (Int’l Class: 37)
                                          Repair and maintenance of aircraft, vehicles, aircraft-
                                          related facilities, baggage-related facilities, and air
                                          travel-related facilities; refueling of aircraft and land
                                          vehicles; ground support services in the field of air
                                          transportation, namely, aircraft de-icing services,
                                          aircraft interior and exterior cleaning, and sanitation.

                                          (Int’l Class: 39)
                                          air transport of passengers, cargo, and freight; providing
                                          travel agency services, namely, providing travel
                                          reservation services for others, namely, coordinating
                                          travel arrangements for individuals and for groups,
                                          providing air transportation reservation services for
                                          others, providing vehicle reservation services for others,
                                          providing cruise reservation services for others, and
                                          providing vacation reservation services by means of a
                                          global computer network, namely, coordinating travel
                                          arrangements for individualsand for groups; providing
                                          information in the field of travel by means of a global
                                          computer network; providing lounge facilities, namely,
                                          airport services featuring transit lounge facilities for
                                          passenger relaxation and also including shower facilities

                                          (Int’l Class: 41)
                                          Providing online electronic publications, namely,online
                                          magazines and online newsletters in the field of general
                                          interest; publication of magazines; providing in-flight
                                          entertainment services, namely, providing passengers
                                          with entertainment services in the form of providing in-
                                          flight entertainment services, namely, providing
                                          movies, radio and radio programs, music,
                                          documentaries, music videos, news and information in
                                          the field of sports, live and recorded television
                                          programs, e-books, tablets, video and online games, and
                                          children's programming, all by means of an inflight
                                          entertainment system; providing in-flight
                                          entertainment services, namely, providing passengers
                                          with entertainment services in the form of providing in-
                                          flight entertainment services, namely, providing
                                          movies, radio and radio programs, music,

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                                                documentaries, music videos, news and information in
                                                the field of sports, live and recorded television
                                                programs, e-books, tablets, video and online games, and
                                                children’s programming, all by means of a personal
                                                computer or tablet.

                                                (Int’l Class: 43)
                                                Food and drink catering; providing food and beverage
                                                services in conjunction with providing facilities in the
                                                form of a private club for conducting business, meetings
                                                and conferences; providing conference room facilities,
                                                food and beverage lounge facilities, and amenities,
                                                namely, food, drink, catering, and restaurant; providing
                                                hotel reservation and coordination services for others by
                                                means of a global computer network; travel agency
                                                services, namely, making reservations and booking for
                                                temporary lodging; entertainment services, namely,
                                                providing a general purpose arena facility for sports,
                                                entertainment, trade shows, exhibitions and
                                                conventions.
  AMERICAN       5279167   Sep. 5, 2017         (Int’l Class: 09)
  AIRLINES                                      computer application software for mobile devices and
                                                handheld computers, namely, software for providing
                                                information in the fields of travel, transportation and
                                                loyalty award programs; computer application software
                                                for mobile devices, namely, software for tracking and
                                                redeeming loyalty program awards; computer
                                                application software for mobile devices and handheld
                                                computers, namely, software for ticketing passengers,
                                                checking reservations, and checking flight status

                                                (Int’l Class 38) Providing Internet access

  AMERICAN       5592865   Oct. 30, 2018        (Int’l Class: 36)
  AIRLINES                                      Issuance of credit cards through a licensee
  AMERICAN       5573314   Oct. 2, 2018         (Int’l Class: 25)
  AIRLINES                                      Clothing, namely, shirts, jackets, fleece tops, t-shirts,
                                                sweatshirts, pants, shorts, skirts, sweat pants, pajamas,
                                                socks, and coats; headwear

                                                (Int’l Class:28)
                                                 Toys, namely, model airplanes; scale model vehicles;
                                                plush toys; toy building blocks for model airplane sets;
                                                dolls, and dolls' clothes; playing cards

                                                (Int’l Class: 36)
                                                Banking; real estate affairs, namely, real estate lending
                                                services; aircraft financing; credit union services;
                                                financial services for credit union members, namely,
                                                financial transactions in the nature of bank transactions,
                                                credit card transactions, debit transactions and credit
                                                transactions, consumer and mortgage lending, securities
                                                brokerage, mortgage and loan insurance services, and
                                                brokerage services, namely, real estate brokerage and



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                                               real estate lending services; Issuance of credit cards
                                               through a licensee

  Design Only    4449061   Dec.10, 2013        (Int’l Class: 35)
                                               promoting the goods and services of others by means of
                                               a discount rewards program and an incentive awards
                                               program whereby purchase points are awarded for
                                               purchases made by vendor subscribers and travel
                                               conducted by member subscribers which can then be
                                               redeemed for merchandise and travel; Online retail store
                                               services featuring toys, jewelry, books, office supplies,
                                               consumer electronics, music, sporting equipment, gifts,
                                               travel related goods and services, apparel, home and
                                               garden-related items, general retail merchandise, gift
                                               cards, and private club membership.

                                               (Int’l Class: 39)
                                               air transportation of passengers, cargo, and freight;
                                               providing travel agency services, namely, providing
                                               transportation reservation services for others, air
                                               transportation reservation services for others, vehicle
                                               reservation services for others, cruise reservation
                                               services for others and vacation transportation
                                               reservation services by means of a global computer
                                               network; providing information in the field of travel by
                                               means of a global computer network.

                                               (Int’l Class: 43)
                                               providing travel agency services, namely, providing
                                               temporary lodging reservation services for others.

  Design Only    5559145   Sep.11, 2018        (Int’l Class: 25)
                                               clothing, namely, shirts, jackets, fleece tops, t-shirts,
                                               sweatshirts, pants, shorts, skirts, sweat pants, pajamas,
                                               socks, and coats; headwear

                                               (Int’l Class: 28)
                                               toys, namely, model airplanes; scale model vehicles;
                                               plush toys; toy building blocks for model airplane sets;
                                               dolls, and dolls' clothes; playing cards

                                               (Int’l Class: 35)
                                               promoting goods and services of others by means of
                                               loyalty program, discount program, promotional
                                               program and an incentive awards program whereby
                                               points are earned or awarded for purchases made by
                                               members which can then be redeemed for merchandise,
                                               services and travel; promoting goods and services of
                                               others by means of providing an on-line shopping mall
                                               with links to the retail web sites of others in the field of
                                               books, computers, software, office supplies, consumer
                                               electronics, music, sporting and recreational equipment,
                                               gifts, gift cards, travel items, apparel, jewelry, health
                                               and beauty, toys, travel, home and garden-related items,
                                               and general retail merchandise; provision, organization,
                                               operation, and administration of a loyalty program, a

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                                          discount program, a promotional program and an
                                          incentive awards program for customers whereby points
                                          are earned for purchases made via credit cards which
                                          can be redeemed for merchandise, services and travel;
                                          provision, organization, operation, and administration
                                          of loyalty, discount, promotional, and incentive
                                          programs, namely, managing and tracking the transfer
                                          and redemption of points that are earned or awarded for
                                          purchases made by members; provision of clerical and
                                          secretarial services; providing facilities, office machines
                                          and equipment for conducting business, business
                                          meetings, and conferences; providing professional
                                          support staff to assist in the conducting of office
                                          business, meetings and conferences; promotion of travel
                                          insurance services of others.

                                          (Int’l Class: 36)
                                          banking; real estate affairs, namely, real estate lending
                                          services; aircraft financing; credit union services;
                                          financial services for credit union members, namely,
                                          financial transactions in the nature of bank transactions,
                                          credit card transactions, debit transactions and credit
                                          transactions, consumer and mortgage lending, securities
                                          brokerage, mortgage and loan insurance services, and
                                          brokerage services, namely, real estate brokerage and
                                          real estate lending services; issuance of credit cards
                                          through a licensee

                                          (Int’l Class: 38)
                                          providing internet access

                                          (Int’l Class: 39)
                                          air transport of passengers, cargo, and freight; providing
                                          travel agency services, namely, providing travel
                                          reservation services for others, air transportation
                                          reservation services for others, vehicle reservation
                                          services for others, cruise reservation services for others
                                          and vacation reservation services in the nature of
                                          coordinating travel arrangements for individuals and
                                          groups; providing information in the field of travel;
                                          ground support services in the field of air transportation,
                                          namely, marking, sorting, loading, unloading, transfer,
                                          and transit of cargo and passengers’ luggage; providing
                                          information concerning cargo and passengers’ luggage
                                          in transit and delivery; air travel passenger ticketingand
                                          check-in services; airport ramp services; transporting
                                          aircraft at airport; providing aircraft parking and
                                          storage; aircraft towing; transportation services, namely,
                                          checking of baggage; airport services featuring transit
                                          loungefacilities for passengers; booking and providing
                                          ancillary travel services, namely, making reservations in
                                          the nature of seat selection, baggage check-in; airport
                                          ramp services, namely,transfer of checked baggage to
                                          aircraft; airport ramp services, namely, transfer of carry-
                                          on baggage to aircraft; airline services, namely,
                                          providing priority boarding for customers, and access to

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                                                airport lounge facilities; air passenger wheel-chair
                                                services at airport; leasing of aircraft; leasing of
                                                components of aircraft; leasing of aircraft engines;
                                                transporting of aircraft engines for others; airport
                                                services featuring transit lounge facilities for
                                                passengers.

                                                (Int’l Class: 41)
                                                providing online electronic publications, namely, online
                                                magazines and online newsletters in the field of general
                                                interest; publication of magazines; providing in-flight
                                                and airport lounge entertainment services, namely,
                                                providing movies, audio and audio programs, music,
                                                documentaries, music videos, news and information in
                                                the field of sports, live and recorded television
                                                programs, e-books, audio books, tablets, video and
                                                online games, and children's programming; travel
                                                services, namely, providing headphones on aircraft for
                                                use for entertainment purposes

                                                (Int’l Class: 43)
                                                providing conference rooms; food and drink catering;
                                                café services; restaurant services; bar services;
                                                providing conference room facilities; providing lounge
                                                facilities for providing food and drink; providing hotel
                                                reservation and coordination services for others; hotel
                                                services; restaurant services, namely, providing of food
                                                and drink in airports and on aircraft

                                                (Int’l Class: 45)
                                                facilitating expedited passenger screening, namely,
                                                providing priority access to airline passenger and
                                                baggage security screening

                 5441150   April 10, 2018       (Int’l Class: 36)
                                                issuance of credit cards through a licensee




  AMERICAN       5288639   Sep. 19, 2017        (Int’l Class: 35)
  and Design                                    sales promotion; promoting the goods and services of
                                                others by means of loyalty program, discount program,
                                                and an incentive awards program whereby purchase
                                                points are earned or awarded for purchases made from
                                                vendor subscribers or travel conducted by member
                                                subscribers which can then be redeemed for
                                                merchandise and travel; online retail store services
                                                featuring gift cards and private club membership;
                                                promoting the goods and services of others by means
                                                of providing an on-line shopping mall with links to the
                                                retail web sites of others in the fields of books,
                                                computers, software, office supplies, consumer
                                                electronics, music, sporting and recreational
                                                equipment, gifts, travel items, apparel, jewelry, health
                                                and beauty, toys, travel, home and garden-related


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                                                      items, and general retail merchandise

                                                      (Int’l Class: 39)
                                                      air transport of passengers, cargo, and freight;
                                                      providing travel agency services, namely, providing
                                                      travel reservation services for others, namely,
                                                      coordinating travel arrangements for individuals and
                                                      for groups, air transportation reservation services for
                                                      others, vehicle reservation services for others, cruise
                                                      reservation services for others and vacation reservation
                                                      services by means of a global computer network,
                                                      namely, coordinating travel arrangements for
                                                      individuals and for groups; providing information in
                                                      the field of travel by means of a global computer
                                                      network


         86.     American also has protected its investment in its brand by registering designs with

 the U.S. Copyright Office. It owns U.S. Copyright Registration No. VA00002130520 for its

 Flight Symbol design (“American Copyright”).

         87.     In addition to its registered rights, American has strong common-law rights in the

 American Marks and American Copyright by virtue of extensive use and promotion in commerce.

         88.     The American Marks and American Copyright serve as unique and famous source

 identifiers for American and various travel services.

         89.     American has invested millions of dollars in worldwide advertising and marketing

 to build the fame, reputation, and goodwill of the American Marks and American Copyright. It

 advertises through a variety of media, including television, the internet, radio, newspapers,

 magazines, and direct mail, across the country and the world.

         90.     The American Marks and American Copyright are distinctive designations of the

 source of origin of American’s services. They are uniquely associated with it and its high-quality

 goods and services and are assets of incalculable value as symbols of American, its quality goods

 and services, and its goodwill.




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         91.     The American Marks and American Copyright are “famous” within the meaning

 of the dilution provisions of the Lanham Act, 15 U.S.C. § 1125(c), and became famous before

 Kiwi’s infringement began.

         92.     As a result of American’s extensive and continuous advertising, promotional, and

 use of the American Marks and American Copyright, they are famous, distinctive, and widely

 recognized by the general consuming public of the United States as a designation of the source of

 the involved goods and services.

          F.     Kiwi’s Abusive Practices and Breaches of Contract and Agency Duties

         93.     As an authorized agent for American, Kiwi gained access in 2018 to American’s

 valuable real-time flight, ticket-pricing and inventory content, and gained the right to sell

 American tickets and related flight services as American’s agent. But within less than a year, Kiwi

 was flouting numerous rules and requirements of the GTAA. These abusive actions were in

 breach of the agreements, significantly harmed American’s customers—through consumer

 confusion, disruptions in services, and operational delays and problems—and likewise damaged

 American’s relationships and reputation with its customers.

         94.     Among other things, Kiwi was engaging extensively in sales of American

 flights/fares using prohibited hidden cities itineraries. Kiwi also was extensively engaging in a

 practice it calls “virtual interlining,” which was damaging to American and deceptive to

 passengers.

         95.     American discussed these problems with Kiwi in 2019, to give Kiwi a chance to

 mend its ways, but to no avail. American therefore notified Kiwi in 2020 that it was terminating

 Kiwi’s authorization to sell American flights and fares, as American was entitled to do under the

 GTAA.



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         96.      But Kiwi was undeterred. Despite lacking any authority to access and use

 American’s flight and fare information, Kiwi found improper means to do so. Likewise without

 authority to sell American’s flights and fares as American’s agent, Kiwi continued to do so:

 displaying American’s flights and trademarks on its website as if it were still authorized as

 American’s agent, and selling American flights by various subterfuges, thereby continuing to

 harm American and American’s customers. Kiwi’s misconduct is ongoing and continues today;

 an injunction is the only means to stop it.

                 1.    Accessing and Using American’s Content

         97.      Despite lacking any agency or other authority to access and use American’s

 valuable, dynamic inventory, schedule and fare information, Kiwi has located an unauthorized

 backchannel and improperly uses it. The content misappropriated and misused by Kiwi is not

 static, nor merely the data that might appear on AA.com, but rather is dynamic, changing in real

 time, and is proprietary and non-public. Kiwi then uses that content to feed its website, permitting

 Kiwi’s customers to query it while financially benefiting Kiwi. Kiwi also improperly accesses

 American’s content through consolidators like GTT, which allow Kiwi, without authorization

 from American, to use their systems to sell American tickets.

                 2.    Booking Through AA.com

         98.      By one unauthorized means, Kiwi sells American’s flights to Kiwi customers

 through American’s direct-to-consumer website, AA.com. But in doing so, Kiwi violates

 numerous terms and conditions of the AA.com Use Agreement and the Conditions of Carriage,

 as well as the GTAA:

        a. Kiwi uses AA.com for commercial, not personal use;

        b. Kiwi actively encourages and books hidden city tickets;



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        c. Kiwi books for others who are not family members or work supervisors, the
           only exceptions under the Use Agreement where someone is permitted to book
           for another person; and

        d. When Kiwi books for a passenger, it does not supply the passenger’s actual
           credit card information and contact email address, using instead Kiwi’s own
           fictitious and hard-to-trace payment information and auto-generated email
           addresses.

         99.     These violations harm consumers and harm American in multiple ways.

 American’s system builds itineraries with minimum connection times built in to allow enough

 time to transfer to a connecting flight under normal flight conditions. Kiwi’s abusive tactics

 circumvent this, and other, safeguards. As a result:

        a. When a passenger arrives late for the final segment of a flight, American might
           delay the flight unnecessarily while looking for the passenger;

        b. If the passenger still doesn’t show, American needs to determine whether the
           passenger has checked luggage through to the final destination, because if the
           passenger has, the luggage needs to be removed from the plane as a serious
           safety matter;

        c. Planes are fueled based on the passenger count, and if passengers don’t show
           up, the plane flies with an empty seat, meaning the plane burns carbon without
           an offsetting consumer benefit;

        d. Without passenger contact information, American is unable to communicate
           with passengers concerning canceled or delayed flights, gate changes, and the
           like;

        e. Without passenger credit card information, American is unable to refund the
           passenger directly, and the customer instead needs to chase down her refund
           from Kiwi, because American generally issues refunds by way of credit to the
           original source of payment (in this case, the credit card information that Kiwi
           supplied).

         100.    Kiwi also misleads its and American’s customers, leading to significant potential

 problems for those customers and for American. For example, Kiwi often collects its own luggage

 charges for checked bags, without any arrangement with American. Kiwi does so even in

 situations where American itself does not charge for checked bags. Kiwi also does so in situations



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 where American itself charges for luggage, but Kiwi does not use the fees it collected to cover

 American’s charges. A customer then ends up thinking that she paid for her bags, but arrives at

 the airport and is told that she has not.

                 3.     Unauthorized Booking Through Other Agencies and
                        Shadow PCCs

         101.     By an alternative avenue, when Kiwi does not book through AA.com, Kiwi has

 moved underground and hidden its activities, operating for example by selling tickets without

 authorization using PCCs of consolidator agencies, including GTT, that Kiwi apparently has

 formed relationships with. These shadow sales appear to American to be sales made by the

 consolidator agency, not Kiwi, but ultimately are funneled to Kiwi and passed on to Kiwi’s

 customers.

         102.     Despite Kiwi’s efforts to evade detection, and with significant effort, American

 has been able to determine that Kiwi sold hundreds of tickets, in 2022 alone, using GTT’s PCCs,

 apparently based on some undisclosed arrangement between Kiwi and GTT. Sales made by Kiwi

 using GTT’s PCCs are designed to appear as if they are authorized sales by GTT, but in fact the

 tickets are ultimately sold to Kiwi’s customers resulting in financial benefit to Kiwi. On

 information and belief, this financial benefit is shared with GTT in some contractual or other

 form.

         103.     As another example, in ARC’s records, Kiwi’s Director of Content, Ondrej

 Cikanek (https://jobs.kiwi.com/blog/our-people/my-kiwi-story-ondrej-cikanek/) is listed as a

 contact for Russia House Inc. dba KW Travel (“Russia House”). See image below. The phone

 number that is listed with the (404) Atlanta area code connects to a consolidator agency called

 www.TravelPapa.com. Thus, it appears that Kiwi has embedded one or more of its key employees

 into one or more consolidators (Russia House, TravelPapa.com, and probably others). By this


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 means, Kiwi presumably is booking flights through those consolidators, to try to cover its tracks,

 and to book and sell flights without authorization.




         104.    On information and belief, Kiwi has undisclosed arrangements with additional

 consolidator agencies by which Kiwi improperly sells American tickets using the PCCs of those

 agencies.

         105.    These shadow sales by Kiwi induce breaches of GTAA provisions by which

 authorized consolidators, such as GTT, have agreed not to issue tickets for any unauthorized

 agency. As with Kiwi’s purchases made on AA.com, Kiwi’s unauthorized shadow sales made

 through authorized consolidators often have been of hidden city tickets, and have caused similar

 problems for passengers and American.

          G.     Kiwi’s Violation of American’s Intellectual Property

         106.    In addition, in connection with unauthorized sales of American flights/fares, Kiwi

 has made and still makes extensive, unauthorized use of the American Marks and American

 Copyright, prominently displaying the terms “American Airlines” and using American’s “Flight

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 Symbol” design across Kiwi.com, as shown by the screen-capture below of a Kiwi.com webpage

 for an American flight:




In fact, Kiwi.com appears to have an entire page dedicated to American, which liberally deploys

American’s marks and effectively pretends it is an authorized online travel agency and American

partner.




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          107.   Kiwi’s business model involves unauthorized sales practices that harm American

 and risks confusing American’s customers into believing that they are dealing with an authorized

 agent.

          108.   Among other things, Kiwi directly promotes the sale of “hidden city” tickets.

 Those tickets provide itineraries where the passenger’s actual, intended destination is not the

 ticketed final destination but rather an intermediate or connecting city—and the passenger never

 makes use of the final leg of the journey. Kiwi advertises hidden-city ticketing as a “travel hack”

 because the price for such tickets may be lower than the price of a ticket to the passenger’s actual,

 intended destination. This booking practice, however, violates the contract that American requires

 all travel agencies to agree to before it grants them limited authority to sell tickets for American,




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 as well as American’s Conditions of Carriage, which expressly prohibit the sale of “hidden city”

 tickets. Kiwi’s own website advertises its “hidden city” program.




It is a touted feature of Kiwi’s business, and a touted differentiator.

         109.    Hidden city ticketing negatively impacts American’s revenue, operations, and

 customers. Hidden city ticketing also causes problems with checked baggage because American

 must check baggage to the final destination, not the connecting city. If a connecting passenger

 does not show up, American needs to ensure than any luggage checked to the final destination is

 removed from the plane, as an important safety matter. Moreover, operational employees and

 flight crews face wasted time, flight delays, and other disruptions trying to locate missing

 customers listed on the connecting flight’s manifest. And it can even delay flights when airlines

 wait for passengers who never intended to show up to board.

         110.    American repeatedly has notified Kiwi of its abusive conduct and demanded that

 it stop. In every instance, Kiwi has ignored American or otherwise failed to stop, continuing

 without authorization to book flights using American’s trademarks and American’s copyright.

 Throughout this period, American has received employee reports and customer complaints about


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 problems and challenges presented by tickets purchased through Kiwi, including operational

 disruptions caused by Kiwi sales of hidden-city flights and use of virtual interlining. Among other

 measures, American tries to identify and cancel bookings associated with Kiwi.com. But despite

 American’s efforts to protect itself, Kiwi continues to find ways to view fares and sell flights

 without authorization.

          111.   Kiwi’s     improper   actions   have   caused    American     considerable    harm.

 Unsurprisingly, when things go wrong with Kiwi-booked tickets, American gets blamed for

 Kiwi’s problems—even where those problems are caused by Kiwi’s own deceptive and improper

 practices. Kiwi’s liberal and unauthorized use of American’s protected intellectual property

 suggests falsely that American is working with Kiwi, authorizing their activities, and will assist

 customers when Kiwi’s practices do customers harm. American then loses more revenue when it

 tries to help solve its customers’ Kiwi-created problems. American has spent nine decades

 building trust with its customers and investing to make its brand one of the premier airlines in the

 world.     But Kiwi’s unlawful, unauthorized activity threatens and erodes that investment,

 potentially irreparably.

          112.   In the last two years, American has expended significant employee time and

 resources investigating and trying to address the problems caused by Kiwi’s abusive practices.

 American employees based in this District have spent hundreds of hours in the last year to identify

 unauthorized Kiwi bookings and develop safeguards. American’s customer relations employees

 have been forced to address many complaints from customers who booked flights through Kiwi,

 in some cases having to pay compensation to customers for lost or delayed bags or other

 disruptions.




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         113.     Given this abusive business model, other airlines have tried to stop Kiwi. For

 example, American, British Airways, Finnair, Iberia, and KLM have all suspended or terminated

 Kiwi’s ticketing privileges, and have prohibited Kiwi from displaying those airlines’ flight

 content. Southwest Airlines secured preliminary and permanent injunctions in this District against

 Kiwi for certain related abusive practices. See Southwest Airlines Co. v. Kiwi.com, Inc., 3:21-cv-

 98, 2021 WL 4476799 (N.D. Tex. Sept. 30, 2021) (preliminary injunction); id. at Dkt. No. 126

 (permanent injunction). By this action, American seeks similar injunctive relief and monetary

 damages.

                                              COUNT I

                 (Breach of AA.com Use Agreement and Conditions of Carriage)

         114.     American realleges the material factual allegations in the preceding paragraphs.

         115.     Use of AA.com is governed by and subject to the Use Agreement.

         116.     At all relevant times, legal, privacy and copyright provisions, including the Use

 Agreement and American’s Conditions of Carriage, have been accessible by links starting from

 AA.com’s main homepage. Kiwi’s own website, Kiwi.com, likewise has Terms of Use, and

 General Terms and Conditions, accessible by links, and which purport to create a contract

 between Kiwi and its customers.

         117.     AA.com’s Use Agreement states, “In return for gaining access to the Site and using

 it, you agree to be bound by the following Agreement …. If you do not intend to be legally bound

 by these terms and conditions, do not access and use the Site.” Thus, by accessing and using, and

 booking tickets through, AA.com, the Use Agreement is a valid agreement binding on Kiwi.

         118.     As a party to the Use Agreement, American is entitled to sue for a breach of the

 agreement. American has met all conditions precedent to and otherwise complied with the

 contract.

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         119.    Among other things, the Use Agreement prohibits use of the site to “engag[e] in

 any    commercial      purpose,”    including     to   “copy,    display,    distribute,   download,

 . . . publish, . . .reuse, sell, transmit, . . . or otherwise use the content of the site for public or

 commercial purposes.”

         120.    The Use Agreement also prohibits use of AA.com to make “any fictitious,

 fraudulent, or abusive reservation,” which is defined in the incorporated Conditions of Carriage

 to include “[p]urchasing a ticket without intending to fly all flights to gain lower fares (hidden

 city ticketing).”

         121.    The Use Agreement also prohibits use of the site to “[a]ct as an agent . . . for any

 person who is not a member of your immediate household; or your direct supervisor at your place

 of employment.”

         122.    In violation of Use Agreement, the Conditions of Carriage, and American’s

 General Rules of the International Tariff, Kiwi has and continues to access AA.com to, among

 other things, engage in a commercial purpose by selling American tickets to Kiwi’s customers,

 sell hidden city tickets, and act on behalf of passengers who are not members of the immediate

 household of the individual using the site or for that person’s direct work supervisor. Kiwi’s

 misconduct is ongoing and continues today.

         123.    Kiwi’s actions have damaged, and will continue to cause damage, to American.

         124.    Kiwi’s acts also have caused and, unless and until such acts are enjoined by this

 Court, will continue to cause, great and irreparable injury to American for which American has

 no adequate remedy at law.




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                                             COUNT II

                                          (Breach of GTAA)

         125.    American realleges the material factual allegations in the preceding paragraphs.

         126.    In or about 2016, Kiwi applied for and obtained IATA accreditation. That

 accreditation remains in effect today.

         127.    As an IATA-accredited agent, Kiwi became and remains bound by the IATA

 Passenger Sales Agency Agreement. The IATA Passenger Sales Agency Agreement provides in

 relevant part that “this Agreement shall become effective between the Agent and the Carrier upon

 appointment of the Agent by such Carrier in accordance with the Sales Agency Rules in effect in

 the country(ies) of the Agent’s Location(s). Upon coming into effect this Agreement, including

 any amendments thereto, shall have the same force and effect between the Carrier and the Agent

 as though they were both named herein and had both subscribed their names as parties hereto.”

         128.    In or around 2016, American appointed Kiwi as an authorized agent through the

 applicable IATA Passenger Sales Agency Rules.

         129.    In or around 2020, American terminated Kiwi’s rights to sell American tickets.

 The IATA Passenger Sales Agency Agreement provides that when a carrier terminates an agency

 relationship, “all obligations accrued prior to the date of termination” survive.

         130.    Kiwi, however, remained accredited by IATA and subject to IATA’s Passenger

 Sales Agency Agreement. Moreover, since Kiwi has continued to execute unauthorized shadow

 sales of American tickets through consolidator agencies who are IATA-accredited and authorized

 to sell American tickets, Kiwi has executed those sales subject to the terms and conditions of the

 IATA Passenger Sales Agency Agreement.

         131.    American is entitled to sue for a breach of the IATA Passenger Sales Agency

 Agreement as a party to the agreement. In addition or in the alternative, American is entitled to

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 sue for a breach of the IATA Passenger Sales Agency Agreement as an intended third-party

 beneficiary of the agreement between Kiwi and IATA.

         132.    The IATA Passenger Sales Agency Agreement prohibits “issuing/selling a ticket

 with a fictitious point of origin or destination in order to undercut the applicable fare.”

         133.    The IATA Passenger Sales Agency Agreement further requires agents to provide

 passenger contact information to the carriers or “to indicate that the passenger has declined to

 provide such details.”

         134.    In addition to its obligations under the IATA Passenger Sales Agency Agreement,

 to the extent that Kiwi has executed unauthorized sales of American tickets through consolidator

 agencies who are ARC accredited—such as GTT, KW Travel and TravelPapa.com—Kiwi

 thereby assumed and became bound to, and is estopped from avoiding, all of the limitations and

 obligations in the ARC Agent Reporting Agreement.

         135.    American is entitled to sue for a breach of the ARC Agent Reporting Agreement

 as a party to the agreement. In addition or in the alternative, American is entitled to sue for a

 breach of the ARC Agent Reporting Agreement as an intended third-party beneficiary.

         136.    The ARC Agent Reporting Agreement prohibits “[m]isuse or manipulation” of

 travel documents, including issuance “of tickets that are not intended for travel by a bona fide

 passenger.”

         137.    The ARC Agent Reporting Agreement also requires that “[i]n the absence of

 specific permission of a Carrier . . . Agent must process Transactions . . . with the same form of

 payment provided by the client. . . . Agent must not use a credit card which is issued in the name

 of the Agent, or in the name of any of the Agent’s personnel, or in the name of any third party

 (other than the client) ….”



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         138.    The ARC Industry Agent’s Handbook, which is incorporated by reference into the

 ARC Agent Reporting Agreement, further requires agents to “follow the validating airline’s rules,

 policies, and procedures” related to reservations and ticketing, including by providing passengers’

 telephone contact numbers.

         139.    The ARC Agent Reporting Agreement further provides that “[a]ny website or

 mobile application owned, operated, or used by an Agent . . . must not include any images

 containing Carrier’s logo or branded aircraft imaging or other marks, without Carrier’s prior

 written consent.”

         140.    In addition to Kiwi’s obligations under the IATA Passenger Sales Agency

 Agreement and the ARC Agent Reporting Agreement, Kiwi also is bound pursuant to the terms

 of both of those agreements by the GTAA.

         141.    The IATA Passenger Sales Agency Agreement provides that “all services sold

 pursuant to this Agreement shall be sold on behalf of the Carrier and in compliance with Carrier’s

 tariffs, conditions of carriage and the written instructions of the carrier as provided to the Agent

 ….”

         142.    The ARC Agent Reporting Agreement provides that “Agent must comply with all

 Carrier instructions, and must not make any representation a Carrier has not previously

 authorized.”

         143.    The GTAA provide that if an agent’s appointment is terminated, “Agent may not

 act in any agency capacity whatsoever for the sale of American’s products and services from any

 location.” That obligation to refrain from acting as an agent continues to bind the agent after

 termination.




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         144.    The GTAA also prohibit unauthorized access to, redistribution or other misuse of

 American’s content, including all inventory, schedule and fare information. Misuse includes,

 among other things, displaying or commercializing American’s content.

         145.    The GTAA also prohibit hidden-city ticketing.

         146.    The GTAA also require agents to provide all required passenger contact

 information and prohibit an agent from substituting its own contact information for a passenger’s.

         147.    The GTAA also prohibit unauthorized use of American intellectual property,

 including American marks, trade dress, and copyright.

         148.    As described in more detail above, Kiwi breached and continues to breach these

 and other provisions of the IATA Passenger Sales Agency Agreement, the ARC Agent Reporting

 Agreement, and the GTAA. Kiwi’s misconduct is ongoing and continues today.

         149.    American has met all conditions precedent to and otherwise complied with the

 contract.

         150.    Kiwi’s actions have damaged, and will continue to cause damage, to American.

                                            Count III

         (Tortious Interference with American’s Contracts with Authorized Agents)

         151.    American realleges the material factual allegations in the preceding paragraphs.

         152.    American has valid contracts with authorized consolidator travel agents such as

 GTT who are bound by the GTAA.

         153.    The GTAA prohibit authorized agents such as GTT from “assisting, aiding, or

 abetting in any way the unauthorized access, use, distribution or display of American Data” and

 provide that “[i]f Agent [such as GTT] learns that any third party [such as Kiwi] is accessing,

 distributing, remarketing or displaying American Data in any way obtained via Agent … without

 American’s written authorization, Agent will promptly inform American and take all

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 commercially reasonable measures, including commercial, technological, or legal measures, to

 prevent the unauthorized access, display, remarketing or distribution of American Data.”

         154.    The GTAA also provide in relevant part that “Agent will not issue tickets for

 transportation on American on behalf of any other travel agency location for which American has

 refused or terminated its appointment.” In addition, the GTAA prohibit certain practices,

 including hidden city ticketing.

         155.    As alleged above, Kiwi’s agency authority was terminated. Yet Kiwi, without

 authorization, has obtained access to American’s flight, fare and inventory content including on

 information and belief from consolidators through which it sells American tickets. Kiwi relatedly,

 without authorization, has executed shadow sales of American tickets using PCCs of consolidator

 agencies such as GTT, Russia House, and TravelPapa, who are ARC-accredited and/or IATA-

 accredited, and who are authorized to sell American tickets.

         156.    By obtaining such access to American’s proprietary content, and by these sales,

 Kiwi has induced breaches of the authorized agencies’ obligations under the GTAA. In addition

 to GTT, Russia House and TravelPapa, on information and belief Kiwi has arrangements with

 other agencies to use improperly their PCCs to sell tickets, and those arrangements and sales

 likewise induce breaches of these additional agencies’ obligations under the GTAA.

         157.    Kiwi is willfully, knowingly, and intentionally interfering with American’s

 contracts with those authorized agencies by obtaining American’s flight, fare and inventory

 content from those third parties, causing the third party authorized agencies to breach their

 obligations to American, and/or purposefully interfering with the third parties’ ability to perform

 their contractual obligations.




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         158.    Kiwi carried out this interference in furtherance of an unlawful scheme to market

 and sell American flights without authorization.

         159.    Kiwi’s conduct is unlawful, deceptive, misleading, and fraudulent.

         160.    Kiwi’s misconduct is ongoing and is harmful to American’s customers, business,

 and reputation. Kiwi’s acts have caused and, unless and until such acts are enjoined by this Court,

 will continue to cause, great and irreparable injury to American for which American has no

 adequate remedy at law.

         161.    Kiwi’s conduct also has proximately caused actual damages to American.

         162.    Kiwi should be required to pay damages, to disgorge profits derived from its

 misconduct, and to pay punitive damages for its misconduct.

                                            COUNT IV

                       (Trademark Infringement under 15 U.S.C. § 1114)

         163.    American realleges the material factual allegations in the preceding paragraphs.

         164.    The American Marks are inherently distinctive and continue to acquire

 distinctiveness and goodwill in the marketplace through American’s use of those marks in

 commerce. As a result of its widespread and continuous use, American Marks have become

 associated in the minds of travelers and travel loyalty program users with American. The

 reputation and goodwill that it has built up in American Marks is of great value to American.

         165.    The types of services for which Kiwi uses American Marks are identical or

 substantially similar to services offered by American.

         166.    Kiwi’s conduct—including its prominent use of American Marks in conjunction

 with promoting and selling American flights—has caused and is likely to cause confusion, to

 cause mistake, or to deceive as to the affiliation, connection, or association of Kiwi with

 American, or as to the origin, sponsorship, or approval of Kiwi’s goods and services by American.

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         167.    The acts of Kiwi constitute infringement of one or more American Marks in

 violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

         168.    American has sustained injury, damage, and loss based on Kiwi’s infringement.

         169.    American is entitled to monetary damages for Kiwi’s infringement.

         170.    Kiwi has acted with knowledge of American’s ownership of the American Marks

 and with a deliberate intent or willful blindness to unfairly benefit from the goodwill symbolized

 by the marks. Kiwi willfully infringed one or more of the American Marks, and the intentional

 nature of Kiwi’s actions makes this case exceptional under 15 U.S.C. § 1117(a).

         171.    American also has suffered and will continue to suffer irreparable harm as a result

 of Kiwi’s infringement of the American Marks. Unless enjoined by this Court pursuant to 15

 U.S.C. § 1116, Kiwi will continue to infringe the American Marks. American has no adequate

 remedy at law for Kiwi’s infringement.

                                             COUNT V

                        (Copyright Infringement under 17 U.S.C. § 101)

         1.      American realleges the material factual allegations in the preceding paragraphs.

         2.      American has a copyright registration for the American Copyright, Reg. No.

 VA0002130520 / 2016-06-03. The copyright is valid and enforceable.

         3.      Kiwi had access to the American Copyright because it is published on AA.com

 and on other places on the Internet and because Kiwi applied for and obtained accreditation from

 IATA and entered into the GTAA. Kiwi copied the American Copyright and displays it on its

 website.

         4.      In copying the American Copyright, Kiwi violated U.S. copyright laws,

 specifically 17 U.S.C. § 101, et seq. Kiwi willfully infringed upon the American Copyright.



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         5.      American has been, is now, and will be irreparably harmed by Kiwi’s copyright

 infringement and, unless enjoined by the Court pursuant to 17 U.S.C. § 502, Kiwi will continue

 to infringe the American Copyright and cause harm and irreparable injury to American for which

 American has no adequate remedy at law.

         6.      American has sustained injury, damage, and loss based on Kiwi’s infringement.

 American is entitled to statutory damages, including for Kiwi’s willful infringement.

                                             COUNT VI

                      (Texas State Law Claims for Common-Law Unfair
                                       Competition)

         7.      American realleges the material factual allegations in the preceding paragraphs.

         8.      American has common law rights under Texas law to the American Marks.

 American adopted and continuously used the American Marks in connection with its goods and

 services, and American’s Marks are distinctive. Kiwi has been using American’s Marks with the

 intent to mislead the public and lead to confusion and mistake, including attempting to pass off

 goods and services as being American’s. Kiwi's actions constitute common-law trademark

 infringement and unfair competition under Texas law.

         9.      American has been, is now, and will be irreparably harmed and has no adequate

 remedy at law for Kiwi’s dilution of American’s common-law trademark rights.

                                           COUNT VII

                     (False Designation of Origin and Unfair Competition
                                  under 15 U.S.C. § 1125(a))

         10.     American realleges the material factual allegations in the preceding paragraphs.

         11.     American has federal trademark rights in the American Marks.




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         12.     Kiwi is displaying and using the American Marks in interstate commerce

 purporting to act as an online travel agency for American but with no authorization to sell and re-

 sell American flights on Kiwi’s website.

         13.     Kiwi’s conduct did and is likely to cause confusion, mistake, or deception as to its

 affiliation, connection, or association with American, or as to the origin, sponsorship, or approval

 of Kiwi’s goods and services by American.

         14.     Kiwi’s acts constitute false designation of origin, which is likely to cause and have

 caused confusion in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         15.     The intentional nature of Kiwi’s actions entitles American to recover profits,

 damages, and attorney fees under 15 U.S.C. § 1117(a).

         16.     Kiwi’s actions did and will continue to cause irreparable injury to American for

 which it has no adequate remedy at law, as well as monetary harm. Kiwi’s acts damage American

 by undermining consumers’ association of the American Marks with American. Unless enjoined

 by the Court pursuant to 15 U.S.C. § 1116, Kiwi will continue to misrepresent and mislead the

 public that its services are in some manner connected with, sponsored by, affiliated with, related

 to, or approved by American. Accordingly, American is entitled to injunctive relief.

         17.     American has sustained injury, damage, and loss based on Kiwi’s actions.

                                          ATTORNEY FEES

         18.     American realleges the material factual allegations in the preceding paragraphs.

         19.     American was required to retain legal services in prosecution of these claims.

 Pursuant to at least Tex. Civ. Prac. & Rem. Code § 38.001, American seeks its reasonable and

 necessary attorney fees.




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                                    CONDITIONS PRECEDENT

         20.     All conditions precedent to these claims have been performed by American, been

 waived, or occurred.

                             APPLICATION FOR INJUNCTIVE RELIEF

         21.     Kiwi’s ongoing actions in violation of its contracts, the Lanham Act and the

 Copyright Act, have caused, and are continuing to cause, substantial and irreparable damage to

 American for which there is no adequate remedy at law. Kiwi did and will continue to improperly

 use the American Marks and American Copyright, unless this Court prevents Kiwi from doing

 so. American will continue to lose control over its own reputation and goodwill, and the public

 and consumers likely will continue to be confused, misled, and deceived by the fact that Kiwi

 offers services under the American Marks and American Copyright without authorization.

         22.     American requests that Kiwi, all companies owned or controlled by Kiwi directly

 or indirectly, their employees, representatives, agents, members, and others acting in concert with

 them, be permanently enjoined from publishing American flight/fare content on any website,

 including Kiwi.com, through Kiwi’s mobile applications, or elsewhere; selling or re-selling

 American flights, fares, or other products through any channel including but through AA.com or

 authorized American agents; accessing or using AA.com or its content for any commercial

 purpose; otherwise accessing or using American’s proprietary flight, fare and/or inventory

 content from any source or for any purpose; holding itself out or continuing to act in an agency

 capacity for American; or displaying or otherwise using the American Marks or American

 Copyright, in violation of U.S. law.

         23.     American also requests pursuant to Fed. R. Civ. P. 65(d)(2)(C) that all persons

 who are in active concert or participation with Kiwi, including GTT, be permanently enjoined



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 from providing Kiwi with American flight, fare and/or inventory content, from selling American

 tickets to or for the benefit of Kiwi or Kiwi’s customers, from executing or clearing sales of

 American tickets for Kiwi, from transacting payment transactions with or for the benefit of Kiwi

 in relation to any purchases or sales of American tickets, or otherwise assisting Kiwi in relation

 to access to American flight, fare and/or inventory content, or purchases or sales of American

 tickets.



                                        PRAYER FOR RELIEF

        Therefore, American respectfully requests an order and/or judgment awarding American:

            a. a permanent injunction requiring Kiwi, and others assisting, or acting for or in

                 concert with Kiwi, including GTT, to comply with the restrictions set forth above;

            b. an accounting of all sales of American flights made by Kiwi, directly or indirectly,

                 since its agency authority was terminated in 2020;

            c. an accounting of all sales of American flights made by Kiwi through GTT, since

                 Kiwi’s agency authority was terminated in 2020;

            d. disgorgement of all ill-gotten or unjust revenues, profits, and benefits that Kiwi

                 derived as a result of its misconduct;

            e. statutory damages, including pursuant to 15 U.S.C. § 1117(c) and (d), and 17

                 U.S.C. § 504(c);

            f. all actual damages that American has incurred due to Kiwi’s actions, including

                 compensatory and consequential damages, as well as exemplary damages due to

                 Kiwi’s willful conduct;

            g. prejudgment and post-judgment interest at the highest rates allowed by law;



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            h. costs and attorney fees, including for any appeal; and

            i. all other relief to which American is justly entitled at law or in equity.

Dated: July 25, 2023                                   Respectfully submitted,

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                                         APPENDIX A

 Acronym         Description

                 Airlines Reporting Corporation. An industry association which accredits
                 domestic (United States) travel agents. By accreditation, domestic travel
 ARC             agents agree to certain standard-form terms to govern their relationship with
                 carriers who appoint them, and also agree to each carrier’s additional specific
                 terms and conditions.

                 Global Distribution System. An organization like Sabre, Amadeus and
                 Travelport that aggregates flight and fare content across carriers. The content
 GDS
                 is made available to travel agents according to contracts negotiated between
                 each carrier and the GDS.

                 Governing Travel Agency Agreements. Standard-form terms that govern the
                 relationship between accredited travel agents and the carriers who appoint
 GTAA
                 them, inclusive of supplemental terms published by carriers applicable to their
                 authorized agents.

                 International Air Transport Association. An airline industry association which
                 accredits international (ex-United States) travel agents. By accreditation,
 IATA            international travel agents agree to certain standard-form terms to govern their
                 relationship with carriers who appoint them, and also agree to each carrier’s
                 additional specific terms and conditions.

                 Pseudo City Codes. Codes used in respect of GDS-processed airline tickets to
 PCC             designate a particular office or location of a travel agency that is issuing the
                 tickets.

                 Semi-Automatic Business Research Environment. One of the GDSs,
 SABRE           originally started by American but later spun off into an independent
                 organization.

 USPTO           United States Patent and Trademark Office.




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